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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


   UNITED STATES OF AMERICA,


          V.
                                                             Criminal Action No. 21-107 (RDM)

  BRUNO JOSEPH CUA,

                  Defendant.



                               DECLARATION OF DR. ALISE CUA

 Under 28 U.S.C. § 1746, I, Dr. Alise Cua, state the following:

     I. I am the third-party custodian for Mr. Bruno Joseph Cua. By order of the Court, Mr. Cua
        is confined to my home in Fulton County, Georgia.

    2. From the period of      ,!2.t ,
                                     2021 to $"      I.Ji
                                                     :f2~21, I attest that Bruno Joseph Cua has
       fully complied with each and every condition of his pre-trial release.

    3. I attest that if I become aware or have reason to believe that Bruno Joseph Cua has
        violated or will violate any conditions of his release, I will immediately report this
        information to the Pretrial Services Agency at (202) 442-1000.


I so declare, under penalty of perjury, that the foregoing is true and correct.
                     ,_   ;t
Executed on:        J6D 1/ 2021




                                                                     Dr. Ali~eCua




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